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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                                              :
       v.                                     :    Case No. 21-CR-6 (TJK)
                                              :
DOUGLAS AUSTIN JENSEN,                        :
                                              :
               Defendant.                     :

                                          ORDER

       Upon consideration of the Government’s Motion for Emergency Stay and for Review of

Detention Order as to defendant Douglas Austin Jensen.

       It is this   22nd    day of January 2021,

       ORDERED, that the Motion for an Emergency Stay is hereby GRANTED and the

release order entered by the Southern District of Iowa Magistrate Judge on January 21, 2021 as

to defendant Douglas Austin Jensen is STAYED pending review of the detention decision by

this Court.




                                           HON. TIMOTHY J. KELLY
                                           UNITED STATES DISTRICT JUDGE
